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THE FIERST LAW GROUP, P.C.
Timothy J. Fierst (tf:3247)
Counsel for Plaintiff Tropica Fresh
462 Sagamore Avenue, Suite 2
East Williston, New York, 11596
516.586.4221

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------------------------------------- X
K&S PRODUCE INC.
                                                                         Index No. 1:20-CV-08786-GHW
                                   Plaintiff,
                                                                         DEFAULT JUDGMENT
                 -against-
                                                                         [Fed.R.Civ.P.55 (b) (2)]
100 BROAD STREET, LLC a/k/a ESSEN FOOD,
ESSEN22 LLC a/k/a ESSEN FOOD, JOHN BYUN,
CHONG WON BYUN, and WILLIAM BYUN,
individually and in any corporate

                                    Defendants.
-------------------------------------------------------------------- X

        Upon consideration of Plaintiff’s motion for entry of a default judgment against the

Defendants 100 Broad Street, LLC a/k/a Essen Food, Essen22 LLC a/k/a Essen Food, John

Byun, Chong Won Byun, and William Byun, the Declaration of Timothy J. Fierst, Esq., dated

February 16, 2021, the Declaration of Lee Pakulsky dated February 16, 2021, and the exhibits

annexed thereto, the Memorandum In Support of Plaintiff’s Motion for Default Judgment

Against Defendants 100 Broad Street, LLC a/k/a Essen Food, Essen22 LLC a/k/a Essen Food,

John Byun, Chong Won Byun, and William Byun and there being no opposition thereto, and it

appearing to the Court that the Defendants 100 Broad Street, LLC a/k/a Essen Food, Essen22

LLC a/k/a Essen Food, John Byun, Chong Won Byun, and William Byun have failed to plead or

otherwise defend in this action; and that a principal balance in the amount of $525,715.27 is due

plaintiff K&S Produce Inc. pursuant to the parties’ contract, and that Plaintiff has the right to



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recover against Defendants 100 Broad Street, LLC a/k/a Essen Food, Essen22 LLC a/k/a Essen

Food, John Byun, Chong Won Byun, and William Byun, jointly severally, pursuant to Section

5(c) of the Perishable Agricultural Commodities Act, 7 U.S.C. §499(e)(a-c) (“PACA”), it is

hereby

         ORDERED, that Plaintiff’s motion for entry of a default judgment be, and the same is

hereby granted and it is further

         ORDERED, ADJUDGED AND DECREED, that judgment is hereby entered in favor

of Plaintiff, K&S PRODUCE INC., 22-19 160street, Whitestone, NY 11357, and against

100 BROAD STREET LLC a/k/a ESSEN FOOD, 100 Broad Street, New York, NY 10004, in

the amount of $198,778.90; in favor of Plaintiff K&S PRODUCE INC., 22-19 160 Street,

Whitestone, NY 11357, and against ESSEN22 LLC a/k/a ESSEN FOOD, 100 Broad Street, New

York, NY 10004, in the amount of $326,936.37; in favor of Plaintiff, K&S PRODUCE INC.,

22-19 160 Street, Whitestone, NY 11357 and against JOHN BYUN, 100 Broad Street, New

York, NY 10004, JOHN BYUN, 100 Broad Street, New York, NY 11357, CHON WON BYUN,

100 Broad Street, New York, NY 10004 and WILLIAM BYUN, 100 Broad Street, New York,

NY 10004 jointly and severally in the amount of $525,715.27; all together with interest at the

legal rate of 9% from October 22, 2020 through the date of judgment in the amount of

_____________, and Plaintiff have execution therefor, and it is further

         ORDERED, ADJUDGED AND DECREED that the stay imposed by Fed. R. Civ. P.

62 (a) is hereby vacated, Plaintiff may immediately execute upon this judgment and the Clerk

shall immediately issue an abstract of judgment upon Plaintiff’s proper application therefor.



         ENTERED, this _____ day of _______________, 2021



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                                       GREGORY H. WOODS
                                       United States District Judge




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